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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Civil Action Nos. 12-cv-2108-JLK-AP and 12-cv-02545-JLK-AP
Bank. No. 11-26999 SBB

In re:

MICHAEL DENIS BRUNK, JR.,
TAMMY MARIE BRUNK,
_____________________________

GARY ERVIN,

         Appellant,

v.

MICHAEL DENIS BRUNK, JR.,
TAMMY MARIE BRUNK,

        Appellees.
     ________________________________________________________________________

                ORDER REMANDING CASES TO BANKRUPTCY COURT
     ________________________________________________________________________
KANE, J.

         Creditor Gary Ervin filed these related appeals from certain rulings and actions of the

bankruptcy court in the Chapter 7 bankruptcy case of Michael and Tammy Brunk. The appeals

came before me today for a status/scheduling conference. As I observed at the conference, there

appears to be no substantive record on which appellate review over the issues raised may be had.

Accordingly, these cases are REMANDED to the bankruptcy court to conduct such evidentiary

hearings as may be initiated by counsel. The bankruptcy court should make findings and

conclusions and certify a record for review by this court.

         Dated October 16, 2012, at Denver, Colorado.

                                               s/John L. Kane
                                               SENIOR U.S. DISTRICT JUDGE
